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              UNITED STATES DISTRICT COURT FOR THE
          NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


UNITED STATES OF AMERICA,                              )
                                                       )
                       Plaintiff,                      )
                                                       ) NO. 08 CR 846
v.                                                     )
                                                       )
JON BURGE,                                             )
                                                       )
                       Defendant.                      )

           MOTION TO MODIFY CONDITIONS OF SUPERVISED RELEASE

       Now comes the Defendant, JON BURGE, by and through his attorney,

RICHARD M. BEUKE, and respectfully requests this Court enter an order modifying

the conditions of his supervised release:

        In support of this request, the following is submitted:

       1. Defendant Jon Burge was charged and found guilty in the above case of

           perjury. For his conduct Defendant was sentenced to 54 months

           imprisonment.

       2. Defendant served his jail sentence and has started his 36 months term of

           supervised release.

       3. Defendant has recently had some serious medical issues which counsel would

           prefer to apprise the Court of in person.

       4. Defendant has a strict regimen of medical testing and treatment that he will

           have to complete over the period of the next several months.

       5. The condition imposed on his supervised release of drug testing and alcohol

           counseling are seemingly unnecessary and difficult to fit into the schedule of
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           medical treatments he must undergo in the foreseeable future.

       6. According to his probation officer, Reese Dorsey, he has been compliant with

           all conditions of his release. According to his probation officer Defendant has

           paid all financial obligations and there are no remaining issues to be

           addressed.

       7. Mr. Dorsey, his probation officer has no objection to modifying the conditions

           of his supervised release.

       8. Assistant United States Attorney April Perry has been contacted and she has

           no objection to these modifications of Mr. Burge’s supervised release

           conditions.



       WHEREFORE, it is requested that this Honorable Court enter an order

modifying the conditions of the Defendant’s supervised release.



                                            Respectfully submitted,



                                            /s/Richard M. Beuke
                                            Richard M. Beuke
                                            Attorney for Defendant- Jon Burge


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